
702 S.E.2d 797 (2010)
STATE of North Carolina
v.
Jose Suarez RODRIGUEZ.
No. 361P10.
Supreme Court of North Carolina.
October 7, 2010.
Kevin P. Bradley, Durham, for Jose Suarez Rodriguez.
Victoria Voight, Special Deputy Attorney General, for State of N.C.

ORDER
Upon consideration of the petition filed on the 24th of August 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th of October 2010."
